12/26/2018     Case: 4:18-cv-02137-RLW Doc. #:Case.net:
                                                1-3 18SL-CC03620   - Docket Entries
                                                        Filed: 12/26/18     Page: 1 of 37 PageID #: 7


                                                                                                              Search for Cases by: Select Search Method...

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                  18SL-CC03620 - YVONNE COLLINS-MYERS V THOMPSON COMPANIES INC ETAL (E-
                                                  CASE)


                                            This information is provided as a service and is not considered an official court record.
 Click here to eFile on Case                                          Sort Date Entries:          Descending               Display Options: All Entries
 Click here to Respond to Selected Documents                                                   Ascending


  11/09/2018            Summons Issued-Circuit
                        Document ID: 18-SMOS-1155, for TRIANGLE TRUCKING, INC.Summons Attached in PDF Form for Attorney to
                        Retrieve from Secure Case.Net and Process for Service.

  11/02/2018            Agent Served
                        Document ID - 18-SMCC-8423; Served To - THOMPSON COMPANIES INC; Server - ; Served Date - 24-OCT-18;
                        Served Time - 00:00:00; Service Type - Sheriff Department; Reason Description - Served
                        Order Granting Leave
                        SO ORDERED: JUDGE ELLEN RIBAUDO

  10/30/2018            Hearing/Trial Cancelled
                        SCHEDULED IN ERROR
                          Scheduled For: 12/05/2018; 9:00 AM ; THEA A SHERRY; St Louis County

  10/29/2018            Case Mgmt Conf Scheduled
                            Associated Entries: 10/30/2018 - Hearing/Trial Cancelled
                            Scheduled For: 12/05/2018; 9:00 AM ; THEA A SHERRY; St Louis County
                        Note to Clerk eFiling
                            Filed By: NURU LATEEF WITHERSPOON
                        Petition:
                        Amended Petition.
                          Filed By: NURU LATEEF WITHERSPOON
                          On Behalf Of: YVONNE COLLINS-MYERS

  10/12/2018            Summ Issd- Circ Pers Serv O/S
                        Document ID: 18-SMOS-1012, for GOFF, RUSSELL. Summons Attached in PDF Form for Attorney to Retrieve
                        from Secure Case.Net and Process for Service.
                        Summons Issued-Circuit
                        Document ID: 18-SMCC-8423, for THOMPSON COMPANIES INC. Summons Attached in PDF Form for Attorney
                        to Retrieve from Secure Case.Net and Process for Service.

  09/21/2018            Filing Info Sheet eFiling
                            Filed By: NURU LATEEF WITHERSPOON
                        Note to Clerk eFiling
                            Filed By: NURU LATEEF WITHERSPOON
                        Pet Filed in Circuit Ct
                        Original Petition.
                           On Behalf Of: YVONNE COLLINS-MYERS
                        Judge Assigned
                        DIV 18
 Case.net Version 5.14.0.3                                                  Return to Top of Page                                               Released 12/14/2018

https://www.courts.mo.gov/casenet/cases/searchDockets.do                                                                                                         1/1
                                                                                                   Electronically Filed - St Louis County - September 21, 2018 - 03:12 PM
                                                                             18SL-CC03620
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                 IN THE CIRCUIT COURT OF ST. LOUIS COUNTY, MISSOURI


YVONNE COLLINS-MYERS,                                     )
2162A Allen Avenue                                        )
St. Louis, Missouri 63104                                 )
                                                          )
                    Plaintiff,                            )
                                                          )
v.                                                        )    Case No.
                                                          )
THOMPSON COMPANIES, INC. f/k/a                            )    JURY TRIAL DEMANDED
TRIANGLE TRUCKING CO.                                     )
Through its Registered Agent                              )
Joseph T. Thompson                                        )
3614 W. Arrow                                             )
Marshall, Missouri 65340                                  )
                                                          )
and                                                       )
                                                          )
RUSSELL GOFF                                              )
794 W. Ash St.                                            )
Salina, Kansas 67401,                                     )
                                                          )
                    Defendant.                            )

                                         PLAINTIFF’S ORIGINAL PETITION

          COMES NOW, Plaintiff Yvonne Collins-Myers (“Plaintiff”), complaining of and against

THOMPSON COMPANIES, INC. f/k/a TRIANGLE TRUCKING CO. and RUSSELL GOFF

(collectively, the “Defendants”), and respectfully shows unto the Court the following:

                                                   PARTIES

          1.        Plaintiff Yvonne Collins-Myers is a resident of St. Louis, St. Louis County,

                    Missouri.

          2.        Defendant, Thompson Companies, Inc., formerly known as “Triangle Trucking

Company” (“Thompson”), is a Missouri Corporation and may be served with Summons through

its registered agent, Joseph T. Thompson, 3614 W. Arrow, Marshall Missouri 65340. Issuance


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of Summons is requested.

          3.        Defendant, Russell Goff (“Goff”), is a resident of Salina, Saline County, Kansas,

and may be served with Summons at his place of residence, 704 W. Ash St., Salina, Kansas 67401.

Issuance of Summons is requested.

                                         JURISDICTION AND VENUE

          4.        Venue is proper in this Court pursuant to RSMo. § 508.010(4). Plaintiff sustained

injuries as a direct and proximate result of acts and omissions committed by the Defendants in St.

Louis County, Missouri.

          5.        This court has subject matter jurisdiction. The instant action arises from Defendants’

acts and omission in the State of Missouri.

                                                 AGENCY

          6.        At all times material hereto, Defendants acted by and through actual, apparent,

ostensible or by estoppel agents, acting within the course and scope of such agency. Accordingly,

Defendant Thompson had actual knowledge of all adverse actions and conduct against Plaintiff

through its respective officers, directors, vice-principals, agents, servants and/or employees.

                                                  FACTS

          7.        On or about October 21, 2017, Plaintiff was traveling in the right lane of eastbound

Highway 70 approaching the ramp to Lucas and Hunt Road when she observed an emergency

vehicle on the right shoulder of the ramp from South Bound Lucas and Hunt. Plaintiff responded

by slowing her vehicle to allow vehicles exiting the ramp to merge with highway traffic.

          8.        Defendant Goff was operating a Freightliner 18-wheeler tractor and trailer and

traveling in the right lane of eastbound Highway 70 directly behind Plaintiff. As Plaintiff slowed




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her vehicle, Defendant Goff crashed into the rear of Plaintiff’s vehicle, causing her to lose control

and to spin out into the “fast lane” of eastbound Highway 70.

          9.        As a result of the crash, Plaintiff sustained serious physical injuries and her vehicle

was totaled.

          10.       At all relevant times, Defendant Goff was within the course and scope of his

employment with Defendant Thompson.

                                              COUNT I.
                                 NEGLIGENCE AND NEGLIGENCE PER SE
                                        (Defendant Russell Goff)

          11.       Plaintiff incorporates the Paragraphs set forth above and below as if fully set forth

herein.

          12.       Defendant Goff was negligent. This defendant’s negligence was the proximate

cause of Plaintiff’s personal injuries. Goff was negligent by failing to:

                       a.      Keep such a look out as a person of ordinary prudence would have kept
                               under similar circumstances;

                       b.      Properly apply the brakes to his truck in order to avoid the collision;

                       c.      Turn the direction of the truck away from the Plaintiff’s vehicle, in order to
                               avoid the accident;

                       d.      Control the speed of the 18-wheeler truck;

                       e.      Drive attentively to the road and traffic;

                       f.      Identify, predict, decide and execute evasive maneuvers appropriately in
                               order to avoid crashing into Plaintiff; and

                       g.      Drive in a safe and non-reckless manner while operating a tractor and trailer
                               on the road.




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          13.       Defendant Goff’s conduct violated multiple regulations issued by the Federal

Motor Carrier Safety Administration in the U.S. Code of Federal Regulations (“CFR”). As such

these acts and omissions constitute negligence per se.


                                                 COUNT II.
                                          RESPONDEAT SUPERIOR
                                            (Defendant Thompson)

          14.       Plaintiff incorporates the Paragraphs set forth above and below as if fully set forth

herein.

          15.       At the time of the crash described above, Defendant Goff was acting in the course

and scope of his employment with Defendant Thompson and, upon information and belief, driving

a     tractor       and       trailer    owned   by Defendant    Thompson.       As     such, Defendant

Thompson is vicariously liable for Defendant Goff’s negligence under the doctrine of respondeat

superior. Plaintiff alleges that all of these damages, as well as the occurrence made the basis of

this action, were proximately caused solely by the conduct of the named Defendants and that the

named Defendants are jointly and severally liable for Plaintiff’s damages.

          WHEREFORE, Plaintiff respectfully requests judgment be entered in her favor, against

Defendants, jointly and severally, for all losses Plaintiff seeks to recover and for further relief as

the Court deems just and equitable.

                                             COUNT III.
                                 NEGLIGENCE AND NEGLIGENCE PER SE
                                        (Defendant Thompson)

          16.       Plaintiff incorporates the Paragraphs set forth above and below as if fully set forth

herein.




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          17.       The conduct of Defendant Thompson, by and through its agents, servants and

employees, was the proximate cause of Plaintiff’s personal injuries. Defendant Thompson was

negligent in the following ways:

                    a.         Hiring and employing incompetent drivers such as Defendant Goff;

                    b.         Failing to establish and implement a safety program for its drivers to safely
                               operate its trucks;

                    c.         Failing to properly train and supervise its truck drivers before authorizing
                               them to operate its trucks on national highways and roadways, including
                               Defendant Goff;

                    d.         Failing to exercise control and direction over drivers’ activities while
                               operating its trucks; and

                    e.         Failing to communicate to its drivers, including Defendant Goff, any duties
                               or obligations to ensure compliance of the state and other applicable
                               regulations in the performance of their employment services.

          18.       Defendant Thompson’s conduct violated multiple regulations issued by the Federal

Motor Carrier Safety Administration in the U.S. Code of Federal Regulations (“CFR”). As such

these acts and omissions constitute negligence per se.

          19.       Each of the above acts and omissions, singularly or in combination with each other,

was a proximate cause of Plaintiff’s injuries and damages as described in this Petition.

          WHEREFORE, Plaintiff respectfully requests judgment be entered in her favor, against

Defendants, jointly and severally, for all losses Plaintiff seeks to recover and for further relief as

the Court deems just and equitable.

                                                  COUNT IV.
                                         NEGLIGENT ENTRUSTMENT
                                           (by Defendant Thompson)

          20.       Plaintiff incorporates the Paragraphs set forth above and below as if fully set forth

herein.


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          21.       Defendant Thompson negligently entrusted its truck to Defendant Goff and in

doing so, proximately caused Plaintiff’s damages. Defendant Thompson knew or should have

known by exercising ordinary diligence that Defendant Goff was a reckless or incompetent truck

driver and should have not allowed him to operate one of its trucks.

          WHEREFORE, Plaintiff respectfully requests judgment be entered in her favor, against

Defendants, jointly and severally, for all losses Plaintiff seeks to recover and for further relief as

the Court deems just and equitable.

                                              COUNT V.
                                         EXEMPLARY DAMAGES

          22.       Plaintiff incorporates the Paragraphs set forth above and below as if fully set forth

herein.

          23.       Plaintiff further alleges that Defendant Thompson should have known that hiring,

employing and sending Defendant Goff out on public roads and highways created an unreasonably

high degree of risk of substantial harm to others. These acts and omissions, whether taken

singularly or in combination, were aggravated by conduct for which the law allows the imposition

of exemplary damages. Defendants’ conduct demonstrates a conscious indifference to the rights,

safety, or welfare of others. Accordingly, Plaintiff seeks exemplary damages in an amount to be

determined by the trier of fact.

          WHEREFORE, Plaintiff respectfully requests that judgment be entered against

Defendants, jointly and severally, for such sum as will serve to punish Defendants and deter

Defendants and others from such conduct.




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                                                     COUNT VI.
                                                     DAMAGES

          24.       As a direct and proximate result of the occurrence made the basis of this lawsuit,

Plaintiff has sustained severe damages in an amount in excess of the minimum jurisdictional limits

of this Court. As a result of her injuries, Plaintiff incurred reasonable and necessary medical

expenses in a sum exceeding $48,354.85. Additional damages include, but are not limited to:

                          •    Physical pain (past and future)

                          •    Reasonable and necessary medical, hospital, and nursing expenses (past and

                               future)

                          •    Emotional distress;

                          •    Lost wages (past)

                          •    Mental anguish; and

                          •    Pre and post judgment interest to the extent allowed by law.

                                                     PRAYER

          WHEREFORE, Plaintiff prays that Defendants be cited to appear and answer, and that

on final jury trial, Plaintiff be awarded judgment against Defendants, jointly and severally, for the

damages cited in this Petition.


                                                   JURY TRIAL

          Plaintiffs request trial by jury on all counts of this Petition.




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                                           Respectfully Submitted,



                                           ________________________________
                                           Nuru Witherspoon
                                           Missouri Bar Number 66812
                                           The Witherspoon Law Group
                                           1717 McKinney Ave., Suite 700
                                           Dallas, Texas 75202
                                           (214) 773-1133 PH
                                           (972) 696-9982 FX

                                           ATTORNEYS FOR PLAINTIFF




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             IN THE 21ST JUDICIAL CIRCUIT COURT, ST. LOUIS COUNTY, MISSOURI

 Judge or Division:                                              Case Number: 18SL-CC03620
 ELLEN HANNIGAN RIBAUDO
 Plaintiff/Petitioner:                                           Plaintiff’s/Petitioner’s Attorney/Address
 YVONNE COLLINS-MYERS                                            NURU LATEEF WITHERSPOON
                                                                 2614 MAIN ST
                                                           vs.   DALLAS, TX 75226
 Defendant/Respondent:                                           Court Address:
 THOMPSON COMPANIES INC                                          ST LOUIS COUNTY COURT BUILDING
 Nature of Suit:                                                 105 SOUTH CENTRAL AVENUE
 CC Pers Injury-Vehicular                                        CLAYTON, MO 63105
                                                                                                                                     (Date File Stamp)

                                                              Summons in Civil Case
     The State of Missouri to: THOMPSON COMPANIES INC
                                      Alias: TRIANGLE TRUCKING CO
  3614 W ARROW                                           SERVE REGISTERED AGENT:
  MARSHALL, MO 65340                                     JOSEPH T THOMPSON


        COURT SEAL OF                       You are summoned to appear before this court and to file your pleading to the petition, a copy of
                                      which is attached, and to serve a copy of your pleading upon the attorney for Plaintiff/Petitioner at the
                                      above address all within 30 days after receiving this summons, exclusive of the day of service. If you fail to
                                      file your pleading, judgment by default may be taken against you for the relief demanded in the petition.
                                            SPECIAL NEEDS: If you have special needs addressed by the Americans With Disabilities Act, please
                                     notify the Office of the Circuit Clerk at 314-615-8029, FAX 314-615-8739, email at SLCADA@courts.mo.gov,
                                     or through Relay Missouri by dialing 711 or 800-735-2966, at least three business days in advance of the court
      ST. LOUIS COUNTY               proceeding.
                                        12-OCT-2018                                           ______________________________________________
                                         Date                                                                      Clerk
                                       Further Information:
                                       ALD
                                                               Sheriff’s or Server’s Return
     Note to serving officer: Summons should be returned to the court within thirty days after the date of issue.
     I certify that I have served the above summons by: (check one)
         delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
         leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
           _____________________________________________a person of the Defendant’s/Respondent’s family over the age of 15 years who
           permanently resides with the Defendant/Respondent.
         (for service on a corporation) delivering a copy of the summons and a copy of the petition to
          ______________________________________________________ (name) _____________________________________________(title).
         other __________________________________________________________________________________________________________.
    Served at _______________________________________________________________________________________________________________ (address)
    in _______________________________ (County/City of St. Louis), MO, on ________________________ (date) at ____________________ (time).
     ____________________________________________                                   _____________________________________________
                     Printed Name of Sheriff or Server                                                   Signature of Sheriff or Server
                                    Must be sworn before a notary public if not served by an authorized officer:
                                    Subscribed and sworn to before me on _____________________________________ (date).
            (Seal)
                                    My commission expires: __________________________            _____________________________________________
                                                                          Date                                       Notary Public
     Sheriff’s Fees, if applicable
     Summons                       $
     Non Est                       $
     Sheriff’s Deputy Salary
     Supplemental Surcharge        $   10.00
     Mileage                       $                   (______ miles @ $.______ per mile)
     Total                         $
     A copy of the summons and a copy of the petition must be served on each Defendant/Respondent. For methods of service on all classes of
     suits, see Supreme Court Rule 54.

OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 18-SMCC-8423        1    (Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                                                        54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
            Case: 4:18-cv-02137-RLW Doc. #: 1-3 Filed: 12/26/18 Page: 11 of 37 PageID #: 17
                             THE CIRCUIT COURT OF ST. LOUIS COUNTY, MISSOURI

                                                    Twenty First Judicial Circuit


                          NOTICE OF ALTERNATIVE DISPUTE RESOLUTION SERVICES



Purpose of Notice

   As a party to a lawsuit in this court, you have the right to have a judge or jury decide your case.
However, most lawsuits are settled by the parties before a trial takes place. This is often true even when
the parties initially believe that settlement is not possible. A settlement reduces the expense and
inconvenience of litigation. It also eliminates any uncertainty about the results of a trial.

    Alternative dispute resolution services and procedures are available that may help the parties settle
their lawsuit faster and at less cost. Often such services are most effective in reducing costs if used early
in the course of a lawsuit. Your attorney can aid you in deciding whether and when such services would be
helpful in your case.

Your Rights and Obligations in Court Are Not Affected By This Notice

    You may decide to use an alternative dispute resolution procedure if the other parties to your case
agree to do so. In some circumstances, a judge of this court may refer your case to an alternative dispute
resolution procedure described below. These procedures are not a substitute for the services of a lawyer
and consultation with a lawyer is recommended. Because you are a party to a lawsuit, you have
obligations and deadlines which must be followed whether you use an alternative dispute resolution
procedure or not. IF YOU HAVE BEEN SERVED WITH A PETITION, YOU MUST FILE A RESPONSE
ON TIME TO AVOID THE RISK OF DEFAULT JUDGMENT, WHETHER OR NOT YOU CHOOSE TO
PURSUE AN ALTERNATIVE DISPUTE RESOLUTION PROCEDURE.

Alternative Dispute Resolution Procedures

   There are several procedures designed to help parties settle lawsuits. Most of these procedures
involve the services of a neutral third party, often referred to as the “neutral,” who is trained in dispute
resolution and is not partial to any party. The services are provided by individuals and organizations who
may charge a fee for this help. Some of the recognized alternative dispute resolutions procedures are:

    (1) Advisory Arbitration: A procedure in which a neutral person or persons (typically one person or a
panel of three persons) hears both sides and decides the case. The arbitrator’s decision is not binding and
simply serves to guide the parties in trying to settle their lawsuit. An arbitration is typically less formal than
a trial, is usually shorter, and may be conducted in a private setting at a time mutually agreeable to the
parties. The parties, by agreement, may select the arbitrator(s) and determine the rules under which the
arbitration will be conducted.

   (2) Mediation: A process in which a neutral third party facilitates communication between the parties to
promote settlement. An effective mediator may offer solutions that have not been considered by the
parties or their lawyers. A mediator may not impose his or her own judgment on the issues for that of the
parties.


CCADM73

OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 18-SMCC-8423   2   (Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                                                  54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
            Case: 4:18-cv-02137-RLW Doc. #: 1-3 Filed: 12/26/18 Page: 12 of 37 PageID #: 18
   (3) Early Neutral Evaluation (“ENE”): A process designed to bring the parties to the litigation and their
counsel together in the early pretrial period to present case summaries before and receive a non-binding
assessment from an experienced neutral evaluator. The objective is to promote early and meaningful
communication concerning disputes, enabling parties to plan their cases effectively and assess realistically
the relative strengths and weaknesses of their positions. While this confidential environment provides an
opportunity to negotiate a resolution, immediate settlement is not the primary purpose of this process.

    (4) Mini-Trial: A process in which each party and their counsel present their case before a selected
representative for each party and a neutral third party, to define the issues and develop a basis for realistic
settlement negotiations. The neutral third party may issue an advisory opinion regarding the merits of the
case. The advisory opinion is not binding.

    (5) Summary Jury Trial: A summary jury trial is a non binding, informal settlement process in which
jurors hear abbreviated case presentations. A judge or neutral presides over the hearing, but there are no
witnesses and the rules of evidence are relaxed. After the “trial”, the jurors retire to deliberate and then
deliver an advisory verdict. The verdict then becomes the starting point for settlement negotiations among
the parties.

Selecting an Alternative Dispute Resolution Procedure and a Neutral

    If the parties agree to use an alternative dispute resolution procedure, they must decide what type of
procedure to use and the identity of the neutral. As a public service, the St. Louis County Circuit Clerk
maintains a list of persons who are available to serve as neutrals. The list contains the names of
individuals who have met qualifications established by the Missouri Supreme Court and have asked to be
on the list. The Circuit Clerk also has Neutral Qualifications Forms on file. These forms have been
submitted by the neutrals on the list and provide information on their background and expertise. They also
indicate the types of alternative dispute resolution services each neutral provides.

  A copy of the list may be obtained by request in person and in writing to: Circuit Clerk, Office of Dispute
Resolution Services, 7900 Carondelet Avenue, 5th Floor, Clayton, Missouri 63105. The Neutral
Qualifications Forms will also be made available for inspection upon request to the Circuit Clerk.

   The List and Neutral Qualification Forms are provided only as a convenience to the parties in selecting
a neutral. The court cannot advise you on legal matters and can only provide you with the List and Forms.
You should ask your lawyer for further information.




CCADM73



OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 18-SMCC-8423   3   (Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                                                  54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
            Case: 4:18-cv-02137-RLW Doc. #: 1-3 Filed: 12/26/18 Page: 13 of 37 PageID #: 19

               IN THE 21ST JUDICIAL CIRCUIT COURT, ST. LOUIS COUNTY, MISSOURI

 Judge or Division:                                          Case Number: 18SL-CC03620
 ELLEN HANNIGAN RIBAUDO
 Plaintiff/Petitioner:                                       Plaintiff’s/Petitioner’s Attorney/Address:
 YVONNE COLLINS-MYERS                                        NURU LATEEF WITHERSPOON
                                                             2614 MAIN ST
                                                       vs.   DALLAS, TX 75226
 Defendant/Respondent:                                       Court Address:
 THOMPSON COMPANIES INC                                      ST LOUIS COUNTY COURT BUILDING
 Nature of Suit:                                             105 SOUTH CENTRAL AVENUE
                                                             CLAYTON, MO 63105
 CC Pers Injury-Vehicular                                                                                                    (Date File Stamp)

                         Summons for Personal Service Outside the State of Missouri
                                                       (Except Attachment Action)
    The State of Missouri to: RUSSELL GOFF
                              Alias:
  794 W ASH ST
  SALINA, KS 67401


     COURT SEAL OF
                                    You are summoned to appear before this court and to file your pleading to the petition, copy of which is
                               attached, and to serve a copy of your pleading upon the attorney for the Plaintiff/Petitioner at the above
                               address all within 30 days after service of this summons upon you, exclusive of the day of service. If you fail to
                               file your pleading, judgment by default will be taken against you for the relief demanded in this action.
                                    SPECIAL NEEDS: If you have special needs addressed by the Americans With Disabilities Act, please
                              notify the Office of the Circuit Clerk at 314-615-8029, FAX 314-615-8739 or TTY at 314-615-4567, at least three
                              business days in advance of the court proceeding.
    ST. LOUIS COUNTY
                                 12-OCT-2018                                       ____________________________________________________
                                  Date                                                                        Clerk
                                Further Information:
                                ALD
                                                 Officer’s or Server’s Affidavit of Service
     I certify that:
     1. I am authorized to serve process in civil actions within the state or territory where the above summons was served.
     2. My official title is _______________________________________ of ______________________ County, _________________ (state).
     3. I have served the above summons by: (check one)
                   delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
          leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
           _________________________________, a person of the Defendant’s/Respondent’s family over the age of 15 years who permanently
           resides with the Defendant/Respondent.
              .
                  (for service on a corporation) delivering a copy of the summons and a copy of the petition to
                   _____________________________________________ (name) _____________________________________________ (title).
                  other (describe) ________________________________________________________________________________________.
     Served at _____________________________________________________________________________________________________________ (address)
     in __________________________ County, ____________________ (state), on ___________________ (date) at ________________ (time).
     ____________________________________________________________       ___________________________________________________________
                  Printed Name of Sheriff or Server                                      Signature of Sheriff or Server
                                Subscribed and Sworn To me before this ___________ (day) ______________ (month) _________ (year)
                                I am: (check one)    the clerk of the court of which affiant is an officer.
                                                     the judge of the court of which affiant is an officer.
                                                     authorized to administer oaths in the state in which the affiant served the above summons.
           (Seal)
                                                      (use for out-of-state officer)
                                                     authorized to administer oaths. (use for court-appointed server)
                                                                            ___________________________________________________________
                                                                                                  Signature and Title




OSCA (7-04) SM60 For Court Use Only: Document ID# 18-SMOS-1012     1        (18SL-CC03620)                             Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                                               506.500, 506.510 RSMo
            Case: 4:18-cv-02137-RLW Doc. #: 1-3 Filed: 12/26/18 Page: 14 of 37 PageID #: 20
    Service Fees, if applicable
    Summons         $___________________
    Non Est         $___________________
    Mileage         $___________________ (_______________miles @ $ _______ per mile)
    Total           $___________________
                            See the following page for directions to clerk and to officer making return on service of summons.




                                   Directions to Officer Making Return on Service of Summons

          A copy of the summons and a copy of the motion and/or petition must be served on each Defendant/Respondent. If any
     Defendant/Respondent refuses to receive the copy of the summons and motion and/or petition when offered to him, the return
     shall be prepared to show the offer of the officer to deliver the summons and motion and/or petition and the
     Defendant’s/Respondent's refusal to receive the same.

          Service shall be made: (1) On Individual. On an individual, including an infant or incompetent person not having a
     legally appointed guardian, by delivering a copy of the summons and motion and/or petition to the individual personally or by
     leaving a copy of the summons and motion and/or petition at the individual's dwelling house or usual place of abode with
     some person of the family over 15 years of age, or by delivering a copy of the summons and motion and/or petition to an agent
     authorized by appointment or required by law to receive service of process; (2) On Guardian. On an infant or incompetent
     person who has a legally appointed guardian, by delivering a copy of the summons and motion and/or petition to the guardian
     personally; (3) On Corporation, Partnership or Other Unincorporated Association. On a corporation, partnership or
     unincorporated association, by delivering a copy of the summons and motion and/or petition to an officer, partner, or
     managing or general agent, or by leaving the copies at any business office of the Defendant/Respondent with the person
     having charge thereof or by delivering copies to its registered agent or to any other agent authorized by appointment or
     required by law to receive service of process; (4) On Public or Quasi-Public Corporation or Body. On a public, municipal,
     governmental or quasi-public corporation or body in the case of a county, to the mayor or city clerk or city attorney in the case
     of a city, to the chief executive officer in the case of any public, municipal, governmental, or quasi-public corporation or body
     or to any person otherwise lawfully so designated.

          Service may be made by an officer or deputy authorized by law to serve process in civil actions within the state or
     territory where such service is made.

          Service may be made in any state or territory in the United States. If served in a territory, substitute the word "territory"
     for the word "state."

          The officer making the service must swear an affidavit before the clerk, deputy clerk, or judge of the court of which the
     person is an officer or other person authorized to administer oaths. This affidavit must state the time, place, and manner of
     service, the official character of the affiant, and the affiant's authority to serve process in civil actions within the state or
     territory where service is made.

          Service must not be made less than ten days nor more than sixty days from the date the Defendant/Respondent is to appear
     in court. The return should be made promptly, and in any event so that it will reach the Missouri Court within 30 days after
     service.




OSCA (7-04) SM60 For Court Use Only: Document ID# 18-SMOS-1012         2         (18SL-CC03620)                                  Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                                                         506.500, 506.510 RSMo
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                             THE CIRCUIT COURT OF ST. LOUIS COUNTY, MISSOURI

                                                     Twenty First Judicial Circuit


                          NOTICE OF ALTERNATIVE DISPUTE RESOLUTION SERVICES



Purpose of Notice

   As a party to a lawsuit in this court, you have the right to have a judge or jury decide your case.
However, most lawsuits are settled by the parties before a trial takes place. This is often true even when
the parties initially believe that settlement is not possible. A settlement reduces the expense and
inconvenience of litigation. It also eliminates any uncertainty about the results of a trial.

    Alternative dispute resolution services and procedures are available that may help the parties settle
their lawsuit faster and at less cost. Often such services are most effective in reducing costs if used early
in the course of a lawsuit. Your attorney can aid you in deciding whether and when such services would be
helpful in your case.

Your Rights and Obligations in Court Are Not Affected By This Notice

    You may decide to use an alternative dispute resolution procedure if the other parties to your case
agree to do so. In some circumstances, a judge of this court may refer your case to an alternative dispute
resolution procedure described below. These procedures are not a substitute for the services of a lawyer
and consultation with a lawyer is recommended. Because you are a party to a lawsuit, you have
obligations and deadlines which must be followed whether you use an alternative dispute resolution
procedure or not. IF YOU HAVE BEEN SERVED WITH A PETITION, YOU MUST FILE A RESPONSE
ON TIME TO AVOID THE RISK OF DEFAULT JUDGMENT, WHETHER OR NOT YOU CHOOSE TO
PURSUE AN ALTERNATIVE DISPUTE RESOLUTION PROCEDURE.

Alternative Dispute Resolution Procedures

   There are several procedures designed to help parties settle lawsuits. Most of these procedures
involve the services of a neutral third party, often referred to as the “neutral,” who is trained in dispute
resolution and is not partial to any party. The services are provided by individuals and organizations who
may charge a fee for this help. Some of the recognized alternative dispute resolutions procedures are:

    (1) Advisory Arbitration: A procedure in which a neutral person or persons (typically one person or a
panel of three persons) hears both sides and decides the case. The arbitrator’s decision is not binding and
simply serves to guide the parties in trying to settle their lawsuit. An arbitration is typically less formal than
a trial, is usually shorter, and may be conducted in a private setting at a time mutually agreeable to the
parties. The parties, by agreement, may select the arbitrator(s) and determine the rules under which the
arbitration will be conducted.

   (2) Mediation: A process in which a neutral third party facilitates communication between the parties to
promote settlement. An effective mediator may offer solutions that have not been considered by the
parties or their lawyers. A mediator may not impose his or her own judgment on the issues for that of the
parties.
CCADM73




OSCA (7-04) SM60 For Court Use Only: Document ID# 18-SMOS-1012   3   (18SL-CC03620)        Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                   506.500, 506.510 RSMo
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   (3) Early Neutral Evaluation (“ENE”): A process designed to bring the parties to the litigation and their
counsel together in the early pretrial period to present case summaries before and receive a non-binding
assessment from an experienced neutral evaluator. The objective is to promote early and meaningful
communication concerning disputes, enabling parties to plan their cases effectively and assess realistically
the relative strengths and weaknesses of their positions. While this confidential environment provides an
opportunity to negotiate a resolution, immediate settlement is not the primary purpose of this process.

    (4) Mini-Trial: A process in which each party and their counsel present their case before a selected
representative for each party and a neutral third party, to define the issues and develop a basis for realistic
settlement negotiations. The neutral third party may issue an advisory opinion regarding the merits of the
case. The advisory opinion is not binding.

    (5) Summary Jury Trial: A summary jury trial is a non binding, informal settlement process in which
jurors hear abbreviated case presentations. A judge or neutral presides over the hearing, but there are no
witnesses and the rules of evidence are relaxed. After the “trial”, the jurors retire to deliberate and then
deliver an advisory verdict. The verdict then becomes the starting point for settlement negotiations among
the parties.

Selecting an Alternative Dispute Resolution Procedure and a Neutral

    If the parties agree to use an alternative dispute resolution procedure, they must decide what type of
procedure to use and the identity of the neutral. As a public service, the St. Louis County Circuit Clerk
maintains a list of persons who are available to serve as neutrals. The list contains the names of
individuals who have met qualifications established by the Missouri Supreme Court and have asked to be
on the list. The Circuit Clerk also has Neutral Qualifications Forms on file. These forms have been
submitted by the neutrals on the list and provide information on their background and expertise. They also
indicate the types of alternative dispute resolution services each neutral provides.

  A copy of the list may be obtained by request in person and in writing to: Circuit Clerk, Office of Dispute
Resolution Services, 7900 Carondelet Avenue, 5th Floor, Clayton, Missouri 63105. The Neutral
Qualifications Forms will also be made available for inspection upon request to the Circuit Clerk.

   The List and Neutral Qualification Forms are provided only as a convenience to the parties in selecting
a neutral. The court cannot advise you on legal matters and can only provide you with the List and Forms.
You should ask your lawyer for further information.




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OSCA (7-04) SM60 For Court Use Only: Document ID# 18-SMOS-1012   4   (18SL-CC03620)      Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                 506.500, 506.510 RSMo
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                 IN THE CIRCUIT COURT OF ST. LOUIS COUNTY, MISSOURI


YVONNE COLLINS-MYERS,                                   )
2162A Allen Avenue                                      )
St. Louis, Missouri 63104                               )
                                                        )
                    Plaintiff,                          )
                                                        )
v.                                                      )       Case No. 18SL-CC03620
                                                        )
TRIANGLE TRUCKING, INC.                                 )       JURY TRIAL DEMANDED
Through its Registered Agent                            )
Patricia A. Counts                                      )
2250 Hein                                               )
Salina, Kansas 67401                                    )
                                                        )
and                                                     )
                                                        )
RUSSELL GOFF                                            )
794 W. Ash St.                                          )
Salina, Kansas 67401,                                   )
                                                        )
                    Defendant.                          )

                             PLAINTIFF’S AMENDED ORIGINAL PETITION

          COMES NOW, Plaintiff Yvonne Collins-Myers (“Plaintiff”), complaining of and against

TRIANGLE TRUCKING, INC. and RUSSELL GOFF (collectively, the “Defendants”), and

respectfully shows unto the Court the following:

                                               PARTIES

          1.        Plaintiff Yvonne Collins-Myers is a resident of St. Louis, St. Louis County,

                    Missouri.

          2.        Defendant, Triangle Trucking, Inc. (“Defendant Triangle”) is a Kansas Corporation

and may be served with Summons through its registered agent, Patricia A. Counts, 2250 Hein,

Salina, Kansas 67401. Issuance of Summons is requested.



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          3.        Defendant, Russell Goff (“Goff”), is a resident of Salina, Saline County, Kansas,

and may be served with Summons at his place of residence, 704 W. Ash St., Salina, Kansas 67401.

Summons has already been issued and service is being perfected.

                                         JURISDICTION AND VENUE

          4.        Venue is proper in this Court pursuant to RSMo. § 508.010(4). Plaintiff sustained

injuries as a direct and proximate result of acts and omissions committed by the Defendants in St.

Louis County, Missouri.

          5.        This court has subject matter jurisdiction. The instant action arises from Defendants’

acts and omission in the State of Missouri.

                                                 AGENCY

          6.        At all times material hereto, Defendants acted by and through actual, apparent,

ostensible or by estoppel agents, acting within the course and scope of such agency. Accordingly,

Defendant Triangle had actual knowledge of all adverse actions and conduct against Plaintiff

through its respective officers, directors, vice-principals, agents, servants and/or employees.

                                                  FACTS

          7.        On or about October 21, 2017, Plaintiff was traveling in the right lane of eastbound

Highway 70 approaching the ramp to Lucas and Hunt Road when she observed an emergency

vehicle on the right shoulder of the ramp from South Bound Lucas and Hunt. Plaintiff responded

by slowing her vehicle to allow vehicles exiting the ramp to merge with highway traffic.

          8.        Defendant Goff was operating a Freightliner 18-wheeler tractor and trailer and

traveling in the right lane of eastbound Highway 70 directly behind Plaintiff. As Plaintiff slowed

her vehicle, Defendant Goff crashed into the rear of Plaintiff’s vehicle, causing her to lose control

and to spin out into the “fast lane” of eastbound Highway 70.


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          9.        As a result of the crash, Plaintiff sustained serious physical injuries and her vehicle

was totaled.

          10.       At all relevant times, Defendant Goff was within the course and scope of his

employment with Defendant Triangle.

                                              COUNT I.
                                 NEGLIGENCE AND NEGLIGENCE PER SE
                                        (Defendant Russell Goff)

          11.       Plaintiff incorporates the Paragraphs set forth above and below as if fully set forth

herein.

          12.       Defendant Goff was negligent. This defendant’s negligence was the proximate

cause of Plaintiff’s personal injuries. Goff was negligent by failing to:

                       a.      Keep such a look out as a person of ordinary prudence would have kept
                               under similar circumstances;

                       b.      Properly apply the brakes to his truck in order to avoid the collision;

                       c.      Turn the direction of the truck away from the Plaintiff’s vehicle, in order to
                               avoid the accident;

                       d.      Control the speed of the 18-wheeler truck;

                       e.      Drive attentively to the road and traffic;

                       f.      Identify, predict, decide and execute evasive maneuvers appropriately in
                               order to avoid crashing into Plaintiff; and

                       g.      Drive in a safe and non-reckless manner while operating a tractor and trailer
                               on the road.

          13.       Defendant Goff’s conduct violated multiple regulations issued by the Federal

Motor Carrier Safety Administration in the U.S. Code of Federal Regulations (“CFR”). As such

these acts and omissions constitute negligence per se.




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                                                    COUNT II.
                                            RESPONDEAT SUPERIOR
                                         (DefendantTriangle Trucking, Inc.)

          14.       Plaintiff incorporates the Paragraphs set forth above and below as if fully set forth

herein.

          15.       At the time of the crash described above, Defendant Goff was acting in the course

and scope of his employment with Defendant Triangle and, upon information and belief, driving

a tractor and trailer owned by Defendant Triangle. As such, Defendant Triangle is vicariously

liable for Defendant Goff’s negligence under the doctrine of respondeat superior. Plaintiff alleges

that all of these damages, as well as the occurrence made the basis of this action, were proximately

caused solely by the conduct of the named Defendants and that the named Defendants are jointly

and severally liable for Plaintiff’s damages.

          WHEREFORE, Plaintiff respectfully requests judgment be entered in her favor, against

Defendants, jointly and severally, for all losses Plaintiff seeks to recover and for further relief as

the Court deems just and equitable.

                                               COUNT III.
                                 NEGLIGENCE AND NEGLIGENCE PER SE
                                    (Defendant Triangle Trucking, Inc.)

          16.       Plaintiff incorporates the Paragraphs set forth above and below as if fully set forth

herein.

          17.       The conduct of Defendant Triangle, by and through its agents, servants and

employees, was the proximate cause of Plaintiff’s personal injuries. Defendant Triangle was

negligent in the following ways:

                    a.         Hiring and employing incompetent drivers such as Defendant Goff;




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                    b.         Failing to establish and implement a safety program for its drivers to safely
                               operate its trucks;

                    c.         Failing to properly train and supervise its truck drivers before authorizing
                               them to operate its trucks on national highways and roadways, including
                               Defendant Goff;

                    d.         Failing to exercise control and direction over drivers’ activities while
                               operating its trucks; and

                    e.         Failing to communicate to its drivers, including Defendant Goff, any duties
                               or obligations to ensure compliance of the state and other applicable
                               regulations in the performance of their employment services.

          18.       Defendant Triangle’s conduct violated multiple regulations issued by the Federal

Motor Carrier Safety Administration in the U.S. Code of Federal Regulations (“CFR”). As such

these acts and omissions constitute negligence per se.

          19.       Each of the above acts and omissions, singularly or in combination with each other,

was a proximate cause of Plaintiff’s injuries and damages as described in this Petition.

          WHEREFORE, Plaintiff respectfully requests judgment be entered in her favor, against

Defendants, jointly and severally, for all losses Plaintiff seeks to recover and for further relief as

the Court deems just and equitable.

                                                     COUNT IV.
                                            NEGLIGENT ENTRUSTMENT
                                         (by Defendant Triangle Trucking, Inc.)

          20.       Plaintiff incorporates the Paragraphs set forth above and below as if fully set forth

herein.

          21.       Defendant Triangle negligently entrusted its truck to Defendant Goff and in doing

so, proximately caused Plaintiff’s damages. Defendant Triangle knew or should have known by

exercising ordinary diligence that Defendant Goff was a reckless or incompetent truck driver and

should have not allowed him to operate one of its trucks.


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          WHEREFORE, Plaintiff respectfully requests judgment be entered in her favor, against

Defendants, jointly and severally, for all losses Plaintiff seeks to recover and for further relief as

the Court deems just and equitable.

                                              COUNT V.
                                         EXEMPLARY DAMAGES

          22.       Plaintiff incorporates the Paragraphs set forth above and below as if fully set forth

herein.

          23.       Plaintiff further alleges that Defendant Triangle should have known that hiring,

employing and sending Defendant Goff out on public roads and highways created an unreasonably

high degree of risk of substantial harm to others. These acts and omissions, whether taken

singularly or in combination, were aggravated by conduct for which the law allows the imposition

of exemplary damages. Defendants’ conduct demonstrates a conscious indifference to the rights,

safety, or welfare of others. Accordingly, Plaintiff seeks exemplary damages in an amount to be

determined by the trier of fact.

          WHEREFORE, Plaintiff respectfully requests that judgment be entered against

Defendants, jointly and severally, for such sum as will serve to punish Defendants and deter

Defendants and others from such conduct.


                                                COUNT VI.
                                                DAMAGES

          24.       As a direct and proximate result of the occurrence made the basis of this lawsuit,

Plaintiff has sustained severe damages in an amount in excess of the minimum jurisdictional limits

of this Court. As a result of her injuries, Plaintiff incurred reasonable and necessary medical

expenses in a sum exceeding $48,354.85. Additional damages include, but are not limited to:



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                          •    Physical pain (past and future)

                          •    Reasonable and necessary medical, hospital, and nursing expenses (past and

                               future)

                          •    Emotional distress;

                          •    Lost wages (past)

                          •    Mental anguish; and

                          •    Pre and post judgment interest to the extent allowed by law.

                                                     PRAYER

          WHEREFORE, Plaintiff prays that Defendants be cited to appear and answer, and that

on final jury trial, Plaintiff be awarded judgment against Defendants, jointly and severally, for the

damages cited in this Petition.


                                                   JURY TRIAL

          Plaintiffs request trial by jury on all counts of this Petition.

                                                             Respectfully Submitted,



                                                             ________________________________
                                                             Nuru Witherspoon
                                                             Missouri Bar Number 66812
                                                             The Witherspoon Law Group
                                                             1717 McKinney Ave., Suite 700
                                                             Dallas, Texas 75202
                                                             (214) 773-1133 PH
                                                             (972) 696-9982 FX

                                                             ATTORNEYS FOR PLAINTIFF




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                 IN THE CIRCUIT COURT OF ST. LOUIS COUNTY, MISSOURI


YVONNE COLLINS-MYERS,                                   )
2162A Allen Avenue                                      )
St. Louis, Missouri 63104                               )
                                                        )
                    Plaintiff,                          )
                                                        )
v.                                                      )       Case No. 18SL-CC03620
                                                        )
TRIANGLE TRUCKING, INC.                                 )       JURY TRIAL DEMANDED
Through its Registered Agent                            )
Patricia A. Counts                                      )
2250 Hein                                               )
Salina, Kansas 67401                                    )
                                                        )
and                                                     )
                                                        )
RUSSELL GOFF                                            )
794 W. Ash St.                                          )
Salina, Kansas 67401,                                   )
                                                        )
                    Defendant.                          )

                             PLAINTIFF’S AMENDED ORIGINAL PETITION

          COMES NOW, Plaintiff Yvonne Collins-Myers (“Plaintiff”), complaining of and against

TRIANGLE TRUCKING, INC. and RUSSELL GOFF (collectively, the “Defendants”), and

respectfully shows unto the Court the following:

                                               PARTIES

          1.        Plaintiff Yvonne Collins-Myers is a resident of St. Louis, St. Louis County,

                    Missouri.

          2.        Defendant, Triangle Trucking, Inc. (“Defendant Triangle”) is a Kansas Corporation

and may be served with Summons through its registered agent, Patricia A. Counts, 2250 Hein,

Salina, Kansas 67401. Issuance of Summons is requested.



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          3.        Defendant, Russell Goff (“Goff”), is a resident of Salina, Saline County, Kansas,

and may be served with Summons at his place of residence, 704 W. Ash St., Salina, Kansas 67401.

Summons has already been issued and service is being perfected.

                                         JURISDICTION AND VENUE

          4.        Venue is proper in this Court pursuant to RSMo. § 508.010(4). Plaintiff sustained

injuries as a direct and proximate result of acts and omissions committed by the Defendants in St.

Louis County, Missouri.

          5.        This court has subject matter jurisdiction. The instant action arises from Defendants’

acts and omission in the State of Missouri.

                                                 AGENCY

          6.        At all times material hereto, Defendants acted by and through actual, apparent,

ostensible or by estoppel agents, acting within the course and scope of such agency. Accordingly,

Defendant Triangle had actual knowledge of all adverse actions and conduct against Plaintiff

through its respective officers, directors, vice-principals, agents, servants and/or employees.

                                                  FACTS

          7.        On or about October 21, 2017, Plaintiff was traveling in the right lane of eastbound

Highway 70 approaching the ramp to Lucas and Hunt Road when she observed an emergency

vehicle on the right shoulder of the ramp from South Bound Lucas and Hunt. Plaintiff responded

by slowing her vehicle to allow vehicles exiting the ramp to merge with highway traffic.

          8.        Defendant Goff was operating a Freightliner 18-wheeler tractor and trailer and

traveling in the right lane of eastbound Highway 70 directly behind Plaintiff. As Plaintiff slowed

her vehicle, Defendant Goff crashed into the rear of Plaintiff’s vehicle, causing her to lose control

and to spin out into the “fast lane” of eastbound Highway 70.


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          9.        As a result of the crash, Plaintiff sustained serious physical injuries and her vehicle

was totaled.

          10.       At all relevant times, Defendant Goff was within the course and scope of his

employment with Defendant Triangle.

                                              COUNT I.
                                 NEGLIGENCE AND NEGLIGENCE PER SE
                                        (Defendant Russell Goff)

          11.       Plaintiff incorporates the Paragraphs set forth above and below as if fully set forth

herein.

          12.       Defendant Goff was negligent. This defendant’s negligence was the proximate

cause of Plaintiff’s personal injuries. Goff was negligent by failing to:

                       a.      Keep such a look out as a person of ordinary prudence would have kept
                               under similar circumstances;

                       b.      Properly apply the brakes to his truck in order to avoid the collision;

                       c.      Turn the direction of the truck away from the Plaintiff’s vehicle, in order to
                               avoid the accident;

                       d.      Control the speed of the 18-wheeler truck;

                       e.      Drive attentively to the road and traffic;

                       f.      Identify, predict, decide and execute evasive maneuvers appropriately in
                               order to avoid crashing into Plaintiff; and

                       g.      Drive in a safe and non-reckless manner while operating a tractor and trailer
                               on the road.

          13.       Defendant Goff’s conduct violated multiple regulations issued by the Federal

Motor Carrier Safety Administration in the U.S. Code of Federal Regulations (“CFR”). As such

these acts and omissions constitute negligence per se.




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                                                    COUNT II.
                                            RESPONDEAT SUPERIOR
                                         (DefendantTriangle Trucking, Inc.)

          14.       Plaintiff incorporates the Paragraphs set forth above and below as if fully set forth

herein.

          15.       At the time of the crash described above, Defendant Goff was acting in the course

and scope of his employment with Defendant Triangle and, upon information and belief, driving

a tractor and trailer owned by Defendant Triangle. As such, Defendant Triangle is vicariously

liable for Defendant Goff’s negligence under the doctrine of respondeat superior. Plaintiff alleges

that all of these damages, as well as the occurrence made the basis of this action, were proximately

caused solely by the conduct of the named Defendants and that the named Defendants are jointly

and severally liable for Plaintiff’s damages.

          WHEREFORE, Plaintiff respectfully requests judgment be entered in her favor, against

Defendants, jointly and severally, for all losses Plaintiff seeks to recover and for further relief as

the Court deems just and equitable.

                                               COUNT III.
                                 NEGLIGENCE AND NEGLIGENCE PER SE
                                    (Defendant Triangle Trucking, Inc.)

          16.       Plaintiff incorporates the Paragraphs set forth above and below as if fully set forth

herein.

          17.       The conduct of Defendant Triangle, by and through its agents, servants and

employees, was the proximate cause of Plaintiff’s personal injuries. Defendant Triangle was

negligent in the following ways:

                    a.         Hiring and employing incompetent drivers such as Defendant Goff;




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                    b.         Failing to establish and implement a safety program for its drivers to safely
                               operate its trucks;

                    c.         Failing to properly train and supervise its truck drivers before authorizing
                               them to operate its trucks on national highways and roadways, including
                               Defendant Goff;

                    d.         Failing to exercise control and direction over drivers’ activities while
                               operating its trucks; and

                    e.         Failing to communicate to its drivers, including Defendant Goff, any duties
                               or obligations to ensure compliance of the state and other applicable
                               regulations in the performance of their employment services.

          18.       Defendant Triangle’s conduct violated multiple regulations issued by the Federal

Motor Carrier Safety Administration in the U.S. Code of Federal Regulations (“CFR”). As such

these acts and omissions constitute negligence per se.

          19.       Each of the above acts and omissions, singularly or in combination with each other,

was a proximate cause of Plaintiff’s injuries and damages as described in this Petition.

          WHEREFORE, Plaintiff respectfully requests judgment be entered in her favor, against

Defendants, jointly and severally, for all losses Plaintiff seeks to recover and for further relief as

the Court deems just and equitable.

                                                     COUNT IV.
                                            NEGLIGENT ENTRUSTMENT
                                         (by Defendant Triangle Trucking, Inc.)

          20.       Plaintiff incorporates the Paragraphs set forth above and below as if fully set forth

herein.

          21.       Defendant Triangle negligently entrusted its truck to Defendant Goff and in doing

so, proximately caused Plaintiff’s damages. Defendant Triangle knew or should have known by

exercising ordinary diligence that Defendant Goff was a reckless or incompetent truck driver and

should have not allowed him to operate one of its trucks.


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          WHEREFORE, Plaintiff respectfully requests judgment be entered in her favor, against

Defendants, jointly and severally, for all losses Plaintiff seeks to recover and for further relief as

the Court deems just and equitable.

                                              COUNT V.
                                         EXEMPLARY DAMAGES

          22.       Plaintiff incorporates the Paragraphs set forth above and below as if fully set forth

herein.

          23.       Plaintiff further alleges that Defendant Triangle should have known that hiring,

employing and sending Defendant Goff out on public roads and highways created an unreasonably

high degree of risk of substantial harm to others. These acts and omissions, whether taken

singularly or in combination, were aggravated by conduct for which the law allows the imposition

of exemplary damages. Defendants’ conduct demonstrates a conscious indifference to the rights,

safety, or welfare of others. Accordingly, Plaintiff seeks exemplary damages in an amount to be

determined by the trier of fact.

          WHEREFORE, Plaintiff respectfully requests that judgment be entered against

Defendants, jointly and severally, for such sum as will serve to punish Defendants and deter

Defendants and others from such conduct.


                                                COUNT VI.
                                                DAMAGES

          24.       As a direct and proximate result of the occurrence made the basis of this lawsuit,

Plaintiff has sustained severe damages in an amount in excess of the minimum jurisdictional limits

of this Court. As a result of her injuries, Plaintiff incurred reasonable and necessary medical

expenses in a sum exceeding $48,354.85. Additional damages include, but are not limited to:



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                          •    Physical pain (past and future)

                          •    Reasonable and necessary medical, hospital, and nursing expenses (past and

                               future)

                          •    Emotional distress;

                          •    Lost wages (past)

                          •    Mental anguish; and

                          •    Pre and post judgment interest to the extent allowed by law.

                                                     PRAYER

          WHEREFORE, Plaintiff prays that Defendants be cited to appear and answer, and that

on final jury trial, Plaintiff be awarded judgment against Defendants, jointly and severally, for the

damages cited in this Petition.


                                                   JURY TRIAL

          Plaintiffs request trial by jury on all counts of this Petition.

                                                             Respectfully Submitted,



                                                             ________________________________
                                                             Nuru Witherspoon
                                                             Missouri Bar Number 66812
                                                             The Witherspoon Law Group
                                                             1717 McKinney Ave., Suite 700
                                                             Dallas, Texas 75202
                                                             (214) 773-1133 PH
                                                             (972) 696-9982 FX
Judge
Judge          Division 18           Division 99
June 10, 2015
November   02, 2018
                                                             ATTORNEYS FOR PLAINTIFF




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               IN THE 21ST JUDICIAL CIRCUIT COURT, ST. LOUIS COUNTY, MISSOURI

 Judge or Division:                                          Case Number: 18SL-CC03620
 ELLEN HANNIGAN RIBAUDO
 Plaintiff/Petitioner:                                       Plaintiff’s/Petitioner’s Attorney/Address:
 YVONNE COLLINS-MYERS                                        NURU LATEEF WITHERSPOON
                                                             2614 MAIN ST
                                                       vs.   DALLAS, TX 75226
 Defendant/Respondent:                                       Court Address:
 THOMPSON COMPANIES INC                                      ST LOUIS COUNTY COURT BUILDING
 Nature of Suit:                                             105 SOUTH CENTRAL AVENUE
                                                             CLAYTON, MO 63105
 CC Pers Injury-Vehicular                                                                                                    (Date File Stamp)

                         Summons for Personal Service Outside the State of Missouri
                                                       (Except Attachment Action)
    The State of Missouri to: TRIANGLE TRUCKING, INC
                              Alias:
  REGISTERD AGENT:
  PATRICIA A COUNTS
  2250 HEIN
  SALINA, KS 67401
     COURT SEAL OF
                                    You are summoned to appear before this court and to file your pleading to the petition, copy of which is
                               attached, and to serve a copy of your pleading upon the attorney for the Plaintiff/Petitioner at the above
                               address all within 30 days after service of this summons upon you, exclusive of the day of service. If you fail to
                               file your pleading, judgment by default will be taken against you for the relief demanded in this action.
                                    SPECIAL NEEDS: If you have special needs addressed by the Americans With Disabilities Act, please
                              notify the Office of the Circuit Clerk at 314-615-8029, FAX 314-615-8739 or TTY at 314-615-4567, at least three
                              business days in advance of the court proceeding.
    ST. LOUIS COUNTY
                                 09-NOV-2018                                       ____________________________________________________
                                  Date                                                                        Clerk
                                Further Information:
                                GB
                                                 Officer’s or Server’s Affidavit of Service
     I certify that:
     1. I am authorized to serve process in civil actions within the state or territory where the above summons was served.
     2. My official title is _______________________________________ of ______________________ County, _________________ (state).
     3. I have served the above summons by: (check one)
                   delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
          leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
           _________________________________, a person of the Defendant’s/Respondent’s family over the age of 15 years who permanently
           resides with the Defendant/Respondent.
              .
                  (for service on a corporation) delivering a copy of the summons and a copy of the petition to
                   _____________________________________________ (name) _____________________________________________ (title).
                  other (describe) ________________________________________________________________________________________.
     Served at _____________________________________________________________________________________________________________ (address)
     in __________________________ County, ____________________ (state), on ___________________ (date) at ________________ (time).
     ____________________________________________________________       ___________________________________________________________
                  Printed Name of Sheriff or Server                                      Signature of Sheriff or Server
                                Subscribed and Sworn To me before this ___________ (day) ______________ (month) _________ (year)
                                I am: (check one)    the clerk of the court of which affiant is an officer.
                                                     the judge of the court of which affiant is an officer.
                                                     authorized to administer oaths in the state in which the affiant served the above summons.
           (Seal)
                                                      (use for out-of-state officer)
                                                     authorized to administer oaths. (use for court-appointed server)
                                                                            ___________________________________________________________
                                                                                                  Signature and Title




OSCA (7-04) SM60 For Court Use Only: Document ID# 18-SMOS-1155     1        (18SL-CC03620)                             Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                                               506.500, 506.510 RSMo
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    Service Fees, if applicable
    Summons         $___________________
    Non Est         $___________________
    Mileage         $___________________ (_______________miles @ $ _______ per mile)
    Total           $___________________
                            See the following page for directions to clerk and to officer making return on service of summons.




                                   Directions to Officer Making Return on Service of Summons

          A copy of the summons and a copy of the motion and/or petition must be served on each Defendant/Respondent. If any
     Defendant/Respondent refuses to receive the copy of the summons and motion and/or petition when offered to him, the return
     shall be prepared to show the offer of the officer to deliver the summons and motion and/or petition and the
     Defendant’s/Respondent's refusal to receive the same.

          Service shall be made: (1) On Individual. On an individual, including an infant or incompetent person not having a
     legally appointed guardian, by delivering a copy of the summons and motion and/or petition to the individual personally or by
     leaving a copy of the summons and motion and/or petition at the individual's dwelling house or usual place of abode with
     some person of the family over 15 years of age, or by delivering a copy of the summons and motion and/or petition to an agent
     authorized by appointment or required by law to receive service of process; (2) On Guardian. On an infant or incompetent
     person who has a legally appointed guardian, by delivering a copy of the summons and motion and/or petition to the guardian
     personally; (3) On Corporation, Partnership or Other Unincorporated Association. On a corporation, partnership or
     unincorporated association, by delivering a copy of the summons and motion and/or petition to an officer, partner, or
     managing or general agent, or by leaving the copies at any business office of the Defendant/Respondent with the person
     having charge thereof or by delivering copies to its registered agent or to any other agent authorized by appointment or
     required by law to receive service of process; (4) On Public or Quasi-Public Corporation or Body. On a public, municipal,
     governmental or quasi-public corporation or body in the case of a county, to the mayor or city clerk or city attorney in the case
     of a city, to the chief executive officer in the case of any public, municipal, governmental, or quasi-public corporation or body
     or to any person otherwise lawfully so designated.

          Service may be made by an officer or deputy authorized by law to serve process in civil actions within the state or
     territory where such service is made.

          Service may be made in any state or territory in the United States. If served in a territory, substitute the word "territory"
     for the word "state."

          The officer making the service must swear an affidavit before the clerk, deputy clerk, or judge of the court of which the
     person is an officer or other person authorized to administer oaths. This affidavit must state the time, place, and manner of
     service, the official character of the affiant, and the affiant's authority to serve process in civil actions within the state or
     territory where service is made.

          Service must not be made less than ten days nor more than sixty days from the date the Defendant/Respondent is to appear
     in court. The return should be made promptly, and in any event so that it will reach the Missouri Court within 30 days after
     service.




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                                                                                                                                         506.500, 506.510 RSMo
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                             THE CIRCUIT COURT OF ST. LOUIS COUNTY, MISSOURI

                                                     Twenty First Judicial Circuit


                          NOTICE OF ALTERNATIVE DISPUTE RESOLUTION SERVICES



Purpose of Notice

   As a party to a lawsuit in this court, you have the right to have a judge or jury decide your case.
However, most lawsuits are settled by the parties before a trial takes place. This is often true even when
the parties initially believe that settlement is not possible. A settlement reduces the expense and
inconvenience of litigation. It also eliminates any uncertainty about the results of a trial.

    Alternative dispute resolution services and procedures are available that may help the parties settle
their lawsuit faster and at less cost. Often such services are most effective in reducing costs if used early
in the course of a lawsuit. Your attorney can aid you in deciding whether and when such services would be
helpful in your case.

Your Rights and Obligations in Court Are Not Affected By This Notice

    You may decide to use an alternative dispute resolution procedure if the other parties to your case
agree to do so. In some circumstances, a judge of this court may refer your case to an alternative dispute
resolution procedure described below. These procedures are not a substitute for the services of a lawyer
and consultation with a lawyer is recommended. Because you are a party to a lawsuit, you have
obligations and deadlines which must be followed whether you use an alternative dispute resolution
procedure or not. IF YOU HAVE BEEN SERVED WITH A PETITION, YOU MUST FILE A RESPONSE
ON TIME TO AVOID THE RISK OF DEFAULT JUDGMENT, WHETHER OR NOT YOU CHOOSE TO
PURSUE AN ALTERNATIVE DISPUTE RESOLUTION PROCEDURE.

Alternative Dispute Resolution Procedures

   There are several procedures designed to help parties settle lawsuits. Most of these procedures
involve the services of a neutral third party, often referred to as the “neutral,” who is trained in dispute
resolution and is not partial to any party. The services are provided by individuals and organizations who
may charge a fee for this help. Some of the recognized alternative dispute resolutions procedures are:

    (1) Advisory Arbitration: A procedure in which a neutral person or persons (typically one person or a
panel of three persons) hears both sides and decides the case. The arbitrator’s decision is not binding and
simply serves to guide the parties in trying to settle their lawsuit. An arbitration is typically less formal than
a trial, is usually shorter, and may be conducted in a private setting at a time mutually agreeable to the
parties. The parties, by agreement, may select the arbitrator(s) and determine the rules under which the
arbitration will be conducted.

   (2) Mediation: A process in which a neutral third party facilitates communication between the parties to
promote settlement. An effective mediator may offer solutions that have not been considered by the
parties or their lawyers. A mediator may not impose his or her own judgment on the issues for that of the
parties.
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                                                                                                   506.500, 506.510 RSMo
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   (3) Early Neutral Evaluation (“ENE”): A process designed to bring the parties to the litigation and their
counsel together in the early pretrial period to present case summaries before and receive a non-binding
assessment from an experienced neutral evaluator. The objective is to promote early and meaningful
communication concerning disputes, enabling parties to plan their cases effectively and assess realistically
the relative strengths and weaknesses of their positions. While this confidential environment provides an
opportunity to negotiate a resolution, immediate settlement is not the primary purpose of this process.

    (4) Mini-Trial: A process in which each party and their counsel present their case before a selected
representative for each party and a neutral third party, to define the issues and develop a basis for realistic
settlement negotiations. The neutral third party may issue an advisory opinion regarding the merits of the
case. The advisory opinion is not binding.

    (5) Summary Jury Trial: A summary jury trial is a non binding, informal settlement process in which
jurors hear abbreviated case presentations. A judge or neutral presides over the hearing, but there are no
witnesses and the rules of evidence are relaxed. After the “trial”, the jurors retire to deliberate and then
deliver an advisory verdict. The verdict then becomes the starting point for settlement negotiations among
the parties.

Selecting an Alternative Dispute Resolution Procedure and a Neutral

    If the parties agree to use an alternative dispute resolution procedure, they must decide what type of
procedure to use and the identity of the neutral. As a public service, the St. Louis County Circuit Clerk
maintains a list of persons who are available to serve as neutrals. The list contains the names of
individuals who have met qualifications established by the Missouri Supreme Court and have asked to be
on the list. The Circuit Clerk also has Neutral Qualifications Forms on file. These forms have been
submitted by the neutrals on the list and provide information on their background and expertise. They also
indicate the types of alternative dispute resolution services each neutral provides.

  A copy of the list may be obtained by request in person and in writing to: Circuit Clerk, Office of Dispute
Resolution Services, 7900 Carondelet Avenue, 5th Floor, Clayton, Missouri 63105. The Neutral
Qualifications Forms will also be made available for inspection upon request to the Circuit Clerk.

   The List and Neutral Qualification Forms are provided only as a convenience to the parties in selecting
a neutral. The court cannot advise you on legal matters and can only provide you with the List and Forms.
You should ask your lawyer for further information.




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                                                                                                 506.500, 506.510 RSMo
